     Case 3:11-cr-00131-LRH-CLB Document 226 Filed 07/31/20 Page 1 of 1




1

2

3

4                              UNITED STATES DISTRICT COURT

5                                    DISTRICT OF NEVADA
6
                                                ***
7     UNITED
      UNITED STATES
             STATES OF
                    OF AMERICA,
                       AMERIC,                    Case No. 3:11-cr-00131-LRH-CLB

8                                        Plaintiff, ORDER
9            v.
10
      ENRIQUE BUENROSTRO,
11
                                      Defendant.
12

13         Before the court is defendant Enrique Buenrostro's Unopposed Motion for Early
14   Termination of supervised release (ECF No. 225) in which defendant's counsel informs
15   the court that Mr. Buenrostro has been totally compliant during his supervised release
16   (which commenced in November 2017 and is set to expire in November 2023), and
17   during this time he has transformed his life. He went back to school, graduated with a
18   degree as a HVAC technician, and is working fulltime. He is now married and has
19   children, and he and his wife have just bought their first home.
20         The court, having reviewed the filing, having noted that there is no opposition by
21   the government or probation, and good cause appearing,
22         IT IS HEREBY ORDERED that defendant's Unopposed Motion for Early
23   Termination (ECF No. 225) is GRANTED, and the court extends its wholehearted
24   congratulations to Mr. Buenrostro for his accomplishments.
25         IT IS SO ORDERED.
26         DATED this 31st day of July, 2020.
27                                                     LARRY R. HICKS
                                                       UNITED STATES DISTRICT JUDGE
28
                                                   1
